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         EXHIBIT 143
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       From:                    Fitzsimmons, William [/O=HARVARD-FAS/OU=EXCHANGE ADMINISTRATIVE
                                GROUP (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=WRF]
       Sent:                    Saturday, January 19, 2013 12:38:48 AM
       To:                      McGrath, Marlyn; Donahue, Sally; Worth, Robin; Yong, Elizabeth
       Subject:                 Enjoy the following four drafts....
       Attachments:             Draft statement Asian American Admissions.docx; January 2013 Gazette.docx;
                                SideBar-January 2013.docx; A note on the Collection docx




                       Draft statement    January 2013   SideBar-January    A note on the
                      Asian American...   Gazette.docx      2013.docx      Collection docx
       Edit away!!!




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                                 A NOTE ON THE COLLECTION AND REPORTING

                                     OF DATA ON RACE AND ETHNICITY



                  One complicating factor cited by the Western Interstate

             Commission for Higher Education report is the changes required in

             recent years by the Federal Government in the way race and ethnicity

             is reported:   "Beginning in 2010-11, the last year for which we

             obtained enrollments data...,states and institutions were required to

             report data...according to a new methodology_"

                  "The new reporting scheme requires individuals to answer a two-
             part question to indicate their racial and ethnic identity. The first
             question is whether an individual's ethnicity is Hispanic/Latino or
             not. The second question is whether the individual is from one or
             more of five racial groups... In addition to the new options for racial
             and ethnic self-identification, the process for collection of data
             from individuals is different than the reporting of the data to the
             Department of Education: individuals may self-identify as both
             Hispanic and any combination of races, but an individual who is
             Hispanic will only be reported as Hispanic. Also, individuals are not
             offered the choice of choosing the seventh category, Two or More
             Races: rather it is a reporting category derived from the
             individual's selections. These factors may account for some
             divergence in data across the years that cover the transition from one
             reporting scheme to another."

                  The report indicates that "...There is still only very limited

             empirical research into the effects of these reporting changes,"

             speculating that Hispanic numbers could increase, while others might

             decrease.

                  Harvard has, of course, complied with the new Federal reporting

             requirements, but continues to report in other contexts what the

             students actually indicated on the voluntary Common Application

             question.   Harvard and its Ivy League peers are members of the

             Consortium on Financing Higher Education (COFHE) which has also noted




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             changes in federal reporting requirements. COFHE now compiles data

             based on all racial/ethnic categories that apply to individual

             applicants, as well as according to the new federal standards.

                  According to a COFHE publication, many COFHE institutions

            "continue to assign multi-racial students to a single category

             consistent with each school's historic practices."    A nearly equal

             number (including Harvard) "indicated that for certain other contexts,

             they would count students in all racial/ethnic categories marked by

             them."

                  The federal reporting system known as IPEDS (Integrated

             Postsecondary Education Data System), has been used by Harvard and all

             other institutions well before the recent changes.    IPEDS has always

             employed a reporting method different from Harvard's and those of many

             other institutions.   This, of course, has been confusing at times for

             researchers and others interested in ethnicity, a fact made even more

             complex by a reporting paradigm that at times included Harvard

             Extension School numbers with those of the College.

                  Such compilations led to a public perception that the College's

             Pell Grant (a federal grant for low-income students) numbers were

             significantly lower than they actually are.   We have worked hard to

             correct this error, but even in the past few months it was reported in

             the media that only 11% of our students had Pell Grants, when the real

             number is 17%.

                  Similarly, the IPEDS reporting system leads to significantly

             lower percentages for all ethnicities except Hispanic Americans.     The

             Common Application method used by Harvard and many peer institutions




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             gives a more complete report on the way our students actually view

             their highly diverse racial and ethnic identities.

                  We mention these various reporting mechanisms for race and

             ethnicity to demonstrate how difficult it can be for the Western

             Interstate Commission for Higher Education to project future graduates

             in the U.S.   It is quite possible that future reports will help to

             clarify the complex and, at times, confusing data that is used to

             envision the very different racial and ethnic future of our nation.




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                                               DRAFT
                              FACTS ABOUT ASIAN AMERICANS AT HARVARD

               • Harvard has no quota for Asian Americans or any other group
               • 22.4% of this year's freshman class is comprised of Asian
                  Americans, the highest in our history
               • There will never be limits on excellence at Harvard. We will
                  continue to seek the nation's and the world's most promising
                  students from all ethnic, cultural, and religious heritages, and
                  we will do everything we can with our generous financial aid
                  program to ensure they can afford to attend.
               • Our admissions process is highly individualized and holistic. We
                 seek students who will contribute to our educational environment
                 by stimulating and even inspiring their fellow classmates and the
                 faculty: We then do everything possible to prepare them to
                 contribute to society throughout their lives. Harvard recently
                 joined many peer institutions in continuing to support the use of
                 a holistic admissions process in an amicus brief submitted to the
                 U.S. Supreme Court in the Fisher Case.
               • There is no formula for admission to Harvard. Academic
                 accomplishment in high school is important, but we consider many
                 other criteria such as community service, work experience,
                 extracurricular activities and accomplishments of all kinds.
                 Leadership, strength of character, and the ability to overcome
                 adversity all play a part in the admissions committee's
                 decisions.




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                  APPLICATIONS TO THE COLLEGE EXCEED 35,000 FOR THE FIRST TIME



                  While applications reached a record 35,018 this year, it was the

             third year in a row that application numbers have hovered near 35,000.

             Last year, 34,303 applied; two years ago applicants numbered 34,950.

                  "Financial aid continues to be a major factor in students'

             decisions to apply to Harvard," said William R. Fitzsimmons, Dean of

             Admissions and Financial Aid.   "Students and their families have many

             questions about the affordability of college in what continue to be

             challenging financial times.    Clearly, they are reassured when they

             learn how our financial aid program makes it possible for students

             from modest and middle-income families to come to Harvard."

                  "Generations of alumni have established a partnership with

             present and future undergraduates," said Fitzsimmons.   "Students as

             always contribute to the cost of their own education through term-time

             and summer work - and have the option of loans as well.   Alumni

             generosity enables the College to provide $172 million this year to

             meet the financial needs of our remarkable undergraduates."

                  "We are deeply grateful to President Drew Faust, Dean of the

             Faculty of Arts and Sciences Michael Smith, and Dean of the College

             Evelynn Hammonds for their continued leadership in sustaining

             Harvard's core value of access for the nation's and the world's most

             promising students," he said,

                  Over sixty percent of Harvard students require need-based aid to

             attend, and on average their families pay only $11,500 annually.    "Our

             financial aid program requires no contribution from the twenty percent

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             of Harvard families with annual incomes below $65,000 and asks an

             average of no more than ten percent of income from families with

             incomes up to $150,000 and typical assets," said Sarah C. Donahue,

             Director of Financial Aid.    "In addition, families with higher incomes

             are eligible for aid depending on their particular circumstances such

             as multiple children in college or unusual medical or other essential

             expenses."

                     "It appears that there is greater economic diversity in the

             applicant pool this year," said Donahue.    "There was a twenty-three

             percent increase in the number of students requesting a few waiver, an

             indication of more applicants from low and modest-income backgrounds."

                     The demographics of this year's and last year's applicant pools

             are generally similar.    "Minority students remain a significant

             segment of the applicant pool, the gender breakdown is still about

             fifty-two percent male, and geographical distribution is about the

             same except for a slight decline in the number of applicants from

             Canada," said Marlyn E. McGrath, Director of Admissions.

                     "There was another increase in applications from those interested

             in mathematics, physical sciences, and engineering - and a twenty-six

             percent increase in prospective computer scientists," said McGrath.

             "The pattern of increases in these four areas began with the

             establishment of the School of Engineering and Applied Sciences

             (SEAS), and it is clear that SEAS has raised the level of visibility

             of our superb and expanded offerings in these fields of study," she

             said.




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                  The Admissions Committee is now reviewing the applications of

             those deferred during Early Action as well as those who applied for

             the January 1 Regular Action program.     Applicants will be notified of

             the Committee's decisions on March 28.

                  Admitted students will be invited to Cambridge for Visitas, the

             visiting program for newly admitted, which this year will be held from

             April 20-22.   Students have until May 1 to notify Harvard of their

             decision to enroll.




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                             BEYOND THE RECORD 35,000 APPLICATIONS:
                         DEMOGRAPHICS AND THE FUTURE OF COLLEGE ADMISSIONS

                  Reaching the milestone of 35,000 applications to the College

             calls for some perspective on why colleges have experienced such rapid

             changes in their applicant pools.   Ten years ago, 20,987 applied to

             Harvard; twenty years ago, it was 13,870.    Ten years from now, will it

             be close to 50,000?   The simple answer is "probably not." Predicting

             the future is, of course, impossible, but we can use available

             information to speculate about what may lie ahead.

                  One does not have to travel far beyond Cambridge to visit

             institutions with far more applications.    Boston University and

             Northeastern have both exceeded 44,000 applications in recent years.

             There are many factors that can affect application numbers including

             recruiting, the public demand for higher education, financial aid

             availability, and demographics.

                  Over the past few decades, recruiting has increased at all

             colleges both in terms of travel and sophistication.     The Internet has

             also made an enormous difference both domestically and

             internationally.

                  More than ever, higher education is important for economic

             reasons and for understanding one's place in an increasingly complex

             world.   Students fear being left behind as there are fewer jobs that

             do not require higher education, a fact especially evident during our

             current and past economic downturns.

                  Students are also increasingly aware that financial aid both from

             private and public sources, while stretched, is available.     Media,

             non-profits, governmental agencies, and the colleges themselves have

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             done a great deal to deliver this message to students from modest and

             middle-income backgrounds.

                  While there are other factors that may be involved, demographics

             tell us much about what has led to the current numbers of college

             applicants and what we might see in the future.

                  Knocking at the College Door, produced by the Western Interstate

             Commission for Higher Education with the support of ACT and the

             College Board, offers perspective on demographic factors that have

             help shape college admissions. This highly respected publication was

             just released in December 2012.   It is the eighth edition in its over

             thirty-year history - and it has been highly accurate in the past:

                  "Beginning around 1990 and continuing through about 2011,
             colleges and universities could count on an annually growing number of
             students graduating from the nation's high schools. But that period
             of abundance appears to be about to end. The nation is entering a
             period of modest decline in the number of graduates...
                • The peak occurred in the 2010-11 academic year when total
                  graduates from public and non-public schools reached 3.4 million.
                • Production of high school graduates will fall over the immediate
                  term before settling down at a stable rate between 3.2 and 3.3
                  million nationally by 2013-14.
                • The next period of sustained growth will begin in 2020-21 and
                  continue through 2026-27. During this time national totals of
                  high school graduates are projected to climb about 70,000 (2%), a
                  much more gradual rise than the one we saw in the two decades
                  preceding 2010, and one that will not quite reach the 2010-11
                  peak."


                  Moreover, there will be great variations from region to region

             and state to state.   While Harvard recruits nationally and

             internationally (and has done so keeping in mind previous demographic

             fluctuations in the 1970's and 80's), it is sobering to see what will

             happen in our home base, the Northeast (which includes New England,

             New York, New Jersey, and Pennsylvania).   This year there will be

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             624,097 high school graduates in the Northeast; by 2027-28 there will

             be 576,215..."a uniformly bleak picture of the future supply" according

             to the report.            The only state in the Northeast to register even a

             slight increase is New York in 2024-25, and that is after an initial

             decline.      Others will see declines of varying magnitudes led by New

             Hampshire's 22%, with Vermont, Rhode Island, and Maine experiencing

             significant declines as well.                Massachusetts is projected to have

             about a 10% decrease.

                     As the report summarizes the regional outlook: "In general, the

             South and the West are most likely to continue to see growth, while

             the Midwest and the Northeast can expect the greatest shrinkage."

                     The other major tend cited by the report is the rapidly

             increasing ethnic diversity of America over the coming years:

                   "White non-Hispanics will no longer be the majority in our
             nation's public high school by 2021. Actual and projected data
             suggest that the numbers of White non-Hispanic and Black non-Hispanic
             students...have already peaked, the former in 2005-06 at 8.9 million and
             the latter in 2008-09 at 2.5 million. By 2019-20 their numbers are
             both projected to fall from these peaks by 13% and 9%, respectively.
             In the meantime, the numbers of Asians/Pacific Islanders and Hispanics
             enrolled will climb without interruption, rising by approximately
             229,000 (29.5%) and 850,000 students (27.3%), respectively, between
             2010-11 and 2019-20."

                  Another way the Report enables us to envision the changes is the
             following:
                                   U. S. Public High School Enrollment by Race/Ethnicity


                                               2012-2013             2024-2025                % Change
             American Indian / Alaska Native       171886     1.2%          205657     1.3%         19.6%
             Asian /Pacific Islander               804850     5.5%         1140483     7.4%         41.7%
             Black /Non-Hispanic                 2340102    16.1%          2426542    15.7%          3.7%
             Hispanic                            3207860     22.1%         4248975    27.6%         32.5%
             White /Non-Hispanic                 8014474    55.1%          7389783    47.9%          -7.8%
             Total                              14539172    100%          15411440                   6.0%




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                     Such projections are complex, as the note at the end of this

             article indicates.    Nevertheless, it is clear that any college that

             hopes to educate future leaders of America - those who will lead us

             intellectually, politically, and in all other ways - needs to be

             highly effective in recruiting the students of the new and diverse

             America that awaits us in the public schools.

                     Finally, it is worth noting that the number of international

             citizens (those with only a foreign passport) increased only 1.2% this

             year.    Last year the increase was 5%; the year before it was 20%.

             This leveling off is an indication that our recruiting has become

             increasingly effective over the years in reaching outstanding

             international students - and that it is likely that we will not see

             increases as large in the future.    For both international students and

             Americans, the rigorous admissions competition at selective American

             colleges that is well publized in guidebooks and on the Internet may

             also encourage only those who are fully qualified to apply.

                     This brief overview of the domestic and international pools, both

             present and future, will help put this year's record 35,000 applicants

             in context.    While envisioning the future is difficult, a period of

             greater stability and less frenzy in college admissions in the coming

             years would be welcome to everyone.




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